                       UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In the Matter of:                                            In Bankruptcy

ANGELA SWORD LEWIS and,                                      Chapter 7
THOMAS K. LEWIS,                                             Case No. 11-44385-WSD

       Debtors.                                              Hon. Walter Shapero
                                     /


                       Trustee’s Report of Undisclosed Assets

       Pursuant to E.D. Mich. LBR 2015, the Trustee hereby reports that the Trustee

discovered the following assets after the Debtors testified at the meeting of creditors

that their schedules are accurate:



              Income tax refunds for the year 2010 in the amount of

              approximately $10,000.00.      Debtors indicated an intent to file

              amended schedules.



       This report is for informational purposes only. No response is permitted.



Dated: April 1, 2011                     /s/Timothy J. Miller
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